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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

THE REPORTERS COMMITTEE FOR         )
FREEDOM OF THE PRESS                )
                                    )
and                                 )
                                    )
THE ASSOCIATED PRESS,               )
                                    )
      Plaintiffs,                   )
                                    )
      v.                            )    Civil Action No. 15-cv-01392 (RJL)
                                    )
FEDERAL BUREAU OF                   )
INVESTIGATION                       )
                                    )
and                                 )
                                    )
UNITED STATES                       )
DEPARTMENT OF JUSTICE,              )
                                    )
      Defendants.                   )
____________________________________)
THE REPORTERS COMMITTEE FOR         )
FREEDOM OF THE PRESS,               )
                                    )
      Plaintiff,                    )
                                    )
      v.                            )    Civil Action No. 18-cv-00345 (RJL)
                                    )
FEDERAL BUREAU OF                   )
INVESTIGATION                       )
                                    )
and                                 )
                                    )
UNITED STATES                       )
DEPARTMENT OF JUSTICE,              )
                                    )
      Defendants.                   )
____________________________________)


         NOTICE OF APPEARANCE AND SUBSTITUTION OF COUNSEL
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       Please take notice that undersigned counsel, Vinita B. Andrapalliyal, will substitute for

Joseph C. Dugan as counsel of record for Defendants in this action:

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Pursuant to Local Civil Rule 83.2(j), undersigned counsel certifies that she is familiar with the

Local Rules of this Court and the other materials set forth in Local Civil Rule 83.8(b) and Local

Civil Rule 83.9(a).

        Dated: March 13, 2019          Respectfully submitted,

                                       JOSEPH H. HUNT
                                       Assistant Attorney General

                                       ELIZABETH J. SHAPIRO
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                                       By: s/ Vinita B. Andrapalliyal
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